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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ISABEL RUBINAS, and                                     )
IJR CORP.,                                              )
                                                        )
        Plaintiffs,                                     )
                                                        )
        v.                                              )       Case No. 1:21-cv-00096
                                                        )
NICOLAS MADUROS, DIRECTOR,                              )
CALIFORNIA DEPARTMENT OF                                )       Hon. Edmond E. Chang
TAX & FEE ADMINISTRATION,                               )
                                                        )
        Defendant.                                      )

                                    JOINT STATUS REPORT

        Pursuant to the Court’s January 18, 2021 Memorandum Opinion and Order, R. 17, the

Parties submit the following Joint Status Report.

        The Parties respectfully suggest that an efficient path forward is to provide targeted briefing

in support of and in opposition to Plaintiffs’ motion for a preliminary injunction. In light of the

Court’s TRO ruling, and to conserve resources, Plaintiffs will agree to take a dismissal if the Court

denies the motion for preliminary injunction on the grounds that the Court lacks jurisdiction, such

that defendant Maduros would not need to file a motion to dismiss.

        Plaintiffs intend to focus specifically on the Internet Tax Freedom Act claim. In Plaintiffs’

view, the interaction between the ITFA’s text and preemptive goals, California’s refund regime, and

the Tax Injunction Act and comity doctrine is a novel issue with important implications for

Ms. Rubinas and similarly-situated merchants. The Court also identified a question about whether

the ITFA provides a private right of action, R. 17 n.7, which the Parties have not briefed.

Supplemental briefing would provide a more complete record for this Court and the Seventh Circuit

on which to consider those issues, while mitigating the risk of appellate waiver issues due to the




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compressed and limited nature of the current record (which results, of course, from Plaintiffs’ TRO

request). Given the complexity and stakes, a modest amount of additional briefing is warranted.

        Defendant Maduros disagrees that the ITFA provides a basis for this Court to exercise

subject-matter jurisdiction, to overcome California’s sovereign immunity, or to give Ms. Rubinas

standing (as opposed to IJR Corp.), but defendant Maduros does not oppose plaintiffs’ proposal for

further briefing.

        The Parties accordingly propose the following schedule:

            •   Plaintiffs file their supplemental brief: February 17

            •   Defendant files its responsive supplemental brief: March 19

            •   Plaintiffs file their optional supplemental reply brief: March 26

        The Parties further agree that Defendant’s response to the complaint under Rule 12 will not

be due unless the Court concludes that it has jurisdiction, in which case Defendants’ responsive

pleading will be due thirty days after such a ruling.

        Respectfully submitted this 28th day of January, 2021.

                                                        s/ Paul K. Vickrey
                                                        Paul K. Vickrey
                                                        Vitale, Vickrey, Niro, Solon & Gasey LLP
                                                        311 S. Wacker Drive, Suite 2470
                                                        Chicago, IL 60606
                                                        Phone: (312) 236-0733
                                                        vickrey@vvnlaw.com

                                                        s/ Aaron K. Block_________
                                                        Aaron K. Block
                                                        The Block Firm LLC
                                                        Georgia Bar No. 508192*
                                                        4200 Northside Parkway NW
                                                        Building 1, Suite 200
                                                        404-997-8419
                                                        aaron@blockfirmllc.com
                                                        (Admitted pro hac vice)

                                                        s/ Paul S. Rafelson_________


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                                         Paul S. Rafelson
                                         Rafelson Schick, PLLC
                                         Florida Bar No. 16958
                                         2255 Glades Road, Suite 319
                                         Boca Raton, Florida 33431
                                         561-326-6529
                                         paul@frsattorneys.com
                                         (Admitted pro hac vice)

                                         Counsel for Plaintiffs, Isabel Rubinas
                                         and IJR Corp.


                                         Xavier Becerra
                                         Attorney General of California
                                         Molly K. Mosley
                                         Supervising Deputy Attorney General


                                         /s/ Michael Sapoznikow
                                         Michael Sapoznikow
                                         Gina Tomaselli
                                         Deputy Attorneys General

                                         Counsel for for Defendant Nicolas Maduros,
                                         Director, California Department of Tax and
                                         Fee Administration




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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on January 28, 2021 the foregoing:

                                    JOINT STATUS REPORT

was filed electronically with the Clerk of the Court for the Northern District of Illinois using the

Court’s Electronic Case Filing System, which will send notification to the registered participants of

the ECF System for this case.


                                                /s/Paul K. Vickrey
                                                Attorney for Plaintiffs




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